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UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF 'I`HE DIS'I`RIC'I` OF COLUMBIA

 

CD Intemational Enterprises, lnc.,
P).'a.intg`)j';
Civil ACtion NO. 16-00394
v.
Rockwell Capital Partners, Inc_, el al_, JURY TRIAL DEMANDED
Defendants.

 

 

DEFENDANTS’ ()PPOSITION TO CDII’S
M()TION FOR ORAL ARGUMENT

Plaintiff CDII has again ignored LCvR ?(m) and failed to confer with Defendants and
inform the Court whether Defendants are opposed to CDII’s motion for oral argument on its
motion for relief from the judgment. Defendants are accordingly forced to tile this brief
opposition out of an abundance of caution

There is no reason to hold oral argument, elicit “limited testimony” from CDII’s counsel,
or have any kind of hearing on CDll’s motion for relief from the judgment No hearing or
testimony from CDIl’s counsel could have any impact on the untimely nature of CDII’s motion
under Rule 60(b). See Docket No. 59. Nor could it alter the frivolous nature of CDll’s argument
that events occurring after this Court dismissed CDII’s claims under Rule lZ(b)(o), and which
were raised by CDII on appeal somehow provide grounds for setting aside that ruling based on
the insufficiency of the pleadings See fd.

This case was dismissed over a year ago and CDII has already unsuccesslillly appealed
There is no basis for CDlI to continue burdening Defendants or the Court with further filings or

requests Plaintiffs’ pending motions should be denied and this case should be put to an end

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Respectfully submitted

Dated: October ll, 2018 fsf Michael J. Scanlon
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